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                             IN THE UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF NEBRASKA

MICHAEL C. BETTS, JR.,                          )           Civil Case No. 8:12-CV-26
                                                )
                Plaintiff,                      )
                                                )
         vs.                                    )           ORDER OF DISMISSAL
                                                )             WITH PREJUDICE
MIKHAIL V. YASINSKIY; SERGEY V.                 )
YASINSKIY; HERBERT RODRIGUES;                   )
M & H TRAILERS, INC., an Oregon                 )
Corporation; and YMV TRANSPORT,                 )
INC., a Washington Corporation,                 )
                                                )
                Defendants.                     )



         IT IS ORDERED that:
         1.     The Joint Stipulation and Motion to Dismiss, filing 39, is granted; and
         2.     All claims for relief against the Defendants in the above-captioned case are
                dismissed with prejudice, complete record waived, and all costs taxed to the
                parties incurring the same.
         Dated this 16th day of July, 2012.

                                                BY THE COURT:


                                                s/ Joseph F. Bataillon
                                                United States District Court Judge


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